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              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION
                                   )
In re:                             )    Chapter 11
                                   )
ALEXANDER E. JONES,                )    Case No. 22-33553 (CML)
                                   )
                     Debtor.       )
                                   )

                       CREDITOR PLAN PROPONENTS’ EMERGENCY
                   MOTION FOR ENTRY OF AN ORDER (I) APPROVING
              THE DISCLOSURE STATEMENT ON A CONDITIONAL BASIS;
                   (II) APPROVING THE SOLICITATION PROCEDURES;
            (III) APPROVING THE FORM OF BALLOT; AND (IV) APPROVING
                CERTAIN DATES AND DEADLINES IN CONNECTION WITH
                         SOLICITATION OF THE CREDITORS’ PLAN

        Emergency relief has been requested. If the Court considers the motion on an
        emergency basis, then you will have less than 21 days to answer. If you object
        to the requested relief or if you believe that the emergency consideration is not
        warranted, you should file an immediate response.

        A hearing is requested for this matter for January 24, 2024.

         The Official Committee of Unsecured Creditors (the “UCC”) appointed in the above-

captioned chapter 11 case (the “Chapter 11 Case”) of Alexander E. Jones (“Jones” or the “Debtor”),

the Connecticut Plaintiffs,1 and the Texas Plaintiffs2 (together, the “Sandy Hook Families”3 and

collectively with the UCC, the “Creditor Plan Proponents”) respectfully state the following in

support of this motion (the “Motion”).


1
  The “Connecticut Plaintiffs” are (i) David Wheeler; (ii) Francine Wheeler; (iii) Mark Barden; (iv) Jacqueline Barden;
(v) Nicole Hockley; (vi) Ian Hockley; (vii) Jennifer Hensel; (viii) Donna Soto; (ix) Carlee Soto-Parisi; (x) Carlos M.
Soto; (xi) Jillian Soto Marino; (xii) William Aldenberg; (xiii) William Sherlach; (xiv) Robert Parker; and (xv) Erica
Lafferty. Due to Erica Lafferty’s chapter 7 bankruptcy, the trustee of her chapter 7 estate currently represents her
financial interest in this proceeding.
2
  The “Texas Plaintiffs” are: (i) Neil Heslin; (ii) Scarlett Lewis; (iii) Leonard Pozner; (iv) Veronique De La Rosa; and
(v) the Estate of Marcel Fontaine (“Fontaine”). Unlike the other Sandy Hook Families, Fontaine’s claims do not relate
to the Sandy Hook shooting. Instead, his claims arise from the Debtor’s false reporting identifying him—by name and
photo—as the murderer of 17 students and educators at a separate school shooting on February 14, 2018 at Marjory
Stoneman Douglas High School in Parkland, Florida.
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                                          RELIEF REQUESTED4

        1.        By this Motion, the Creditor Plan Proponents seek entry of an order, substantially

in the form attached hereto as Exhibit A (the “Disclosure Statement Order”):

        (i)       approving on a conditional basis the adequacy of information contained in the
                  Proposed Specific Disclosure Statement for the Creditors’ Non-Uniform Individual
                  Chapter 11 Plan of Liquidation for Alexander E. Jones [ECF No. 539] (the
                  “Specific Disclosure Statement”);

        (ii)      approving solicitation procedures with respect to the Creditors’ Non-Uniform
                  Individual Chapter 11 Plan of Liquidation for Alexander E. Jones [ECF No. 538]
                  (as may be amended, modified and supplemented from time to time, the “Creditors’
                  Plan”); 5

        (iii)     approving the form of ballot attached hereto as Exhibit B (the “Ballot”) for Class
                  3 (General Unsecured Claims), the only impaired Class entitled to vote; and

        (iv)      establishing the following dates and deadlines in connection with the solicitation of
                  the Creditors’ Plan (the “Solicitation Dates”):

                           Event                                          Date
                     Voting Record Date                             January 24, 2024
                                                              February 12, 2024 at 4:00 p.m.
                       Voting Deadline
                                                                (prevailing Central Time)
                                                              February 23, 2024 at 4:00 p.m.
                Deadline to File Voting Report
                                                                (prevailing Central Time)

                                              BACKGROUND

        2.        On December 2, 2022 (the “Petition Date”), Jones filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code.




4
  The Creditor Plan Proponents understand that contemporaneously with the filing of this Motion, the Debtor intends
to file a companion motion seeking conditional approval of the Debtor’s Proposed Disclosure Statement with Respect
to Debtor’s Plan of Reorganization [ECF No. 533] (the “Jones Disclosure Statement”) and related solicitation
procedures. The Creditor Plan Proponents will work cooperatively with the Debtor to ensure solicitation of the
Creditors’ Plan and the Debtor’s Plan of Reorganization [ECF No. 523] (the “Jones Plan”) is efficient and cost-
effective.
5
  Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
Creditors’ Plan or the Specific Disclosure Statement, as applicable.

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        3.      On December 13, 2022, pursuant to Bankruptcy Code section 1102, the Office of

the United States Trustee for the Southern District of Texas (the “U.S. Trustee”) appointed six of

the Debtor’s unsecured creditors to serve as members of the UCC [ECF No. 42]. The Committee

currently comprises the following individuals: (i) Robert Parker; (ii) Nicole Hockley;

(iii) Jennifer Hensel; (iv) David Wheeler; (v) Leonard Pozner; and (vi) Scarlett Lewis.

        4.      The Debtor’s largest creditors are the Sandy Hook Families, who hold Claims

against the Debtor on account of judgments entered in Connecticut, in the amount of

$1,438,000,000,6 and Texas, in the amount of $50,043,653.80,7 as well as additional litigation

Claims. These judgments were entered following years of litigation brought by the families of

victims of the 2012 Sandy Hook school shooting and hold Jones and FSS liable for defamation

and related torts. On October 19, 2023, the Court held that these judgments were largely

nondischargeable under Bankruptcy Code section 523.8

        5.      On December 1, 2023, the Court entered the Agreed Scheduling Order for

Confirmation Hearing [ECF No. 512] (the “Confirmation Scheduling Order”) setting forth dates

that had been agreed upon among the Creditor Plan Proponents and the Debtor for consideration

of any plans filed in this Chapter 11 Case, including the following dates and deadlines (together

with the Solicitation Dates, the “Plan Confirmation Schedule”):




6
  Judgment on Verdict for Plaintiffs, Lafferty v. Jones, Case No. UWY-CV18-6046436-S (Conn. Sup. Ct. Dec. 22,
2022) [ECF No. 1044].
7
  Notice of Final Judgment, Heslin v. Jones, Case No. D-1-GN-18-001835 (Tex. Dist. Ct. Jan. 13, 2023) [ECF No.
382].
8
  See Memorandum Decision on Texas Plaintiffs’ Motion for Summary Judgment Against Jones, October 19, 2023
[Adv. Pro. No. 23-03035, ECF. 46]; Memorandum Decision on Connecticut Plaintiffs’ Motion for Summary Judgment
Against Jones, Oct. 19, 2023 [Adv. Pro. No. 23-03037, ECF No. 76].

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                          Event9                                                      Date
    Objections to Provisional Approval of
    Disclosure Statements. The date by which
    Parties and any other parties in interest shall           Tuesday, January 16, 2024
    file any objections to the provisional approval
    of any disclosure statements filed.
    Disclosure Statement Hearing Date. The
    date on which the Parties and any other
    parties in interest shall, subject to the Court’s
                                                              [Wednesday-Friday, January 24-26], 2024
    availability, participate in a hearing regarding
    any disclosure statements filed to seek
    provisional approval thereof.
    Substantial Completion of Document
    Production. The date by which the Parties
    and any other recipients of the Requests shall
    substantially complete the production of
    documents in response to the Requests.
    Parties and any other recipients of the
    Requests must commence production of
    documents in response to Requests as soon                 Friday, January 26, 2024
    as reasonably possible and shall roll out
    document production in tranches, as
    available. Parties and any other recipients
    of the Requests shall not wait until the
    substantial completion deadline to
    commence production.

    Solicitation Mailing/Publication Deadline.                Monday, January 29, 2024
    Privilege Log Deadline. The date by which
    the Parties and any other recipients of the
    Requests shall have provided logs of
                                                              Tuesday, January 30, 2024
    documents responsive to the Requests that
    were withheld or redacted on the basis of any
    claim or privilege.
    Preliminary Witness Lists. The date by
    which the Parties and any other parties in
    interest shall exchange lists of witnesses each           Thursday, February 1, 2024
    such party in good faith expects to call at the
    Confirmation Hearing.
    Fact Witness Depositions. The dates during
                                                              Friday, February 2 – Friday, February 9,
    which the Parties and any other parties in
                                                              2024
    interest shall conduct fact witness depositions.


9
  Capitalized terms used in this chart but not otherwise defined in this Motion shall have the meaning ascribed to such
terms in the Confirmation Scheduling Order.

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Expert Reports. The date by which the
Parties and any other parties in interest shall
simultaneously exchange expert reports, with
a date for rebuttal reports (if needed) to be
                                                         Thursday, February 15, 2024
determined by the Parties and any other
parties in interest intending to serve such
reports. Bankruptcy Rule 7026 shall apply in
its entirely to any expert reports exchanged.
Production of Materials Relied Upon in
Expert Reports. The date by which the
Parties and any other parties in interest shall
produce copies of any documents or data that
                                                         Friday, February 16, 2024
were (a) relied on by such party’s expert in
forming the opinions contained in such report
and (b) have not already been produced in
these cases.
Plan Objection Deadline. The date by
                                                         Friday, February 16, 2024
which objections to any Plan must be filed.
Exchange of Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest shall serve a final list
of witnesses and exhibits they intend to offer
at the Confirmation Hearing. Witness lists               Friday, February 16, 2024
shall identify all witnesses that each party will
call and may call at the Confirmation Hearing
and shall provide a brief summary of the
anticipated testimony of each witness.
Objections to Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest must serve any                 Tuesday, February 20, 2024
objections to the final witness and exhibit
lists.
Expert Depositions. The dates during which
                                                         [Tuesday, February 20, 2024 – Thursday,
the Parties and any other parties in interest
                                                         February 22, 2024]
shall conduct expert witness depositions.
Exchange of Exhibits. The deadline by
which the Parties and any other parties in
                                                         Friday, February 23, 2024, 12 pm CT
interest shall exchange exhibits with each
other.
Filing of Final Witness and Exhibit Lists
with the Clerk of the Court. The deadline
by which the Parties and any other parties in            Friday, February 23, 2024, 12 pm CT
interest shall file final exhibit and witness
lists with the Clerk of the Court.
Final Pretrial Conference. The date on
                                                         Friday, February 23, 2024
which the Parties and any other parties in

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 interest shall, subject to the Court’s
 availability, participate in a final pretrial
 conference.
 Reply to Objections. The date by which the
 Parties and any other parties in interest must
                                                          Friday, February 23, 2024
 file their reply to all timely objections to their
 respective Plans.
 Confirmation Hearing Dates. The
 timeframe in which the Parties and any other
 parties in interest shall complete trial. For the        Tuesday, February 27, 2024 – Thursday,
 avoidance of doubt, final approval of any                February 29, 2024
 disclosure statements filed will be sought
 during the Confirmation Hearing.

                                  JURISDICTION AND VENUE

       6.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding under 28 U.S.C. § 157(b)(2).

       7.       Venue is proper in the Court under 28 U.S.C. §§ 1408 and 1409.

       8.       The statutory and procedural bases for the relief requested herein are Bankruptcy

Code sections 105, 502, 1123, 1124, 1125, 1126 and 1128, Bankruptcy Rules 2002, 3003, 3016,

3017, 3018, 3019, 3020 and 9006 of the Federal Rules of Bankruptcy Procedure and Rule 2002-1,

3016-1, 3016-2 and 9013-1 of the Local Bankruptcy Rules for the Southern District of Texas

(the “Bankruptcy Local Rules”).

                                        BASIS FOR RELIEF

I.     The Court Should Approve the Specific Disclosure Statement on a Conditional Basis

       9.       Pursuant to Bankruptcy Code section 1125, the proponent of a proposed chapter 11

plan must provide holders of impaired claims and interests entitled to vote on the plan “adequate

information” regarding that plan. 11 U.S.C. § 1125. “Adequate information” means “information

of a kind, and in sufficient detail, as far as is reasonably practicable in light of the nature and

history of the debtor and the condition of the debtor’s books and records” that would permit

“informed judgment about the plan” by impaired creditors and interest holders entitled to vote on

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the plan. See 11 U.S.C. § 1125(a)(i); see also In re Divine Ripe, L.L.C., 554 B.R. 395, 401-02

(Bankr. S.D. Tex. 2016) (citing In re Metrocraft Pub. Servs., Inc., 39 B.R. 567 (Bankr. N.D. Ga.

1984)). Importantly, “adequate information need not include such information about any other

possible or proposed plan.” 11 U.S.C. § 1125(a)(1).

       10.     The proposed Specific Disclosure Statement contains adequate information in

sufficient detail to permit creditors entitled to vote to make an informed judgment about the

Creditors’ Plan, including information regarding: (a) the Debtor’s assets and liabilities; (b) the

events leading to the commencement of the Chapter 11 Case; (c) material events in the Chapter 11

Case, including the nondischargeability adversary proceedings and the UCC’s Investigation;

(d) the classification and treatment of Claims under the Creditors’ Plan; (e) the potential sources

of consideration for distributions under the Creditors’ Plan; (f) provisions governing the GUC

Trust; (g) the releases and exculpations provisions under the Creditors’ Plan, which are

conspicuously displayed in accordance with Bankruptcy Rule 3016(c); (h) the statutory

requirements for confirmation; (i) risk factors related to the Creditors’ Plan; and (j) certain U.S.

federal tax consequences arising from implementation of the Creditors’ Plan.

       11.     The proposed Specific Disclosure Statement contains sufficient information for a

reasonable person to make an informed judgment about the Creditors’ Plan and complies with

Bankruptcy Code section 1125. See Divine Ripe, L.L.C., 554 B.R. at 401-02. As such, the Creditor

Plan Proponents respectfully request that the Court approve the Specific Disclosure Statement as

containing “adequate information” within the meaning of Bankruptcy Code section 1125 on a

conditional basis and for solicitation purposes only. The Creditor Plan Proponents also respectfully

request that the Court determine on a final basis at the Confirmation Hearing that the Specific

Disclosure Statement contains “adequate information” pursuant to Bankruptcy Code section 1125.



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In connection with the Confirmation of the Creditors’ Plan, the Creditor Plan Proponents will

provide any necessary support for the Court to determine the adequacy of the Specific Disclosure

Statement and that the Creditor Plan Proponents have met the requirements of Bankruptcy Code

section 1125.

II.    The Court Should Approve the Solicitation Procedures

       12.      The Creditor Plan Proponents respectfully request approval of the Solicitation

Procedures (described below) to solicit votes in connection with the Creditors’ Plan consistent with

the Bankruptcy Code and the Bankruptcy Rules. The Solicitation Procedures are tailored to allow

the Creditor Plan Proponents to solicit votes to accept or reject the Creditors’ Plan efficiently and

effectively given the nature of the creditor body in the Chapter 11 Case. Specifically, the

Solicitation Procedures provide all holders of Claims with adequate notice of the solicitation

process and the relevant dates set forth in the Plan Confirmation Schedule. The Solicitation

Procedures are as follows:

       A.       The Balloting Process

       13.      The Creditor Plan Proponents will: (a) distribute the Solicitation Package (as

defined below) to holders of Claims entitled to vote on the Creditors’ Plan or their representatives

and will work cooperatively with the Debtor to ensure efficient and cost-effective solicitation of

the Creditors’ Plan and the Jones Plan; (b) receive, tabulate, and submit a report tallying the votes

for or against the Creditors’ Plan; and (c) respond to inquiries relating to the solicitation and voting

process as it relates to the Creditors’ Plan, including all matters related thereto. The Creditor Plan

Proponents request that Akin Gump Strauss Hauer & Feld LLP be authorized to serve as

solicitation agent (the “Solicitation Agent”) and be authorized to accept Ballots via mail or email.

Ballots submitted by facsimile or by electronic means other than by email, will not be counted.



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       14.      The Creditor Plan Proponents respectfully request that the Court approve the

following voting and tabulation procedures (the “Voting Procedures”), which conform to

Bankruptcy Code section 1126(c) and Bankruptcy Rule 3018(a), providing that only the following

holders of Claims will be entitled to vote with regard to such Claims:

             a. holders of Claims who, on or before the Voting Record Date, have timely filed a
                Proof of Claim that has not been expunged, disallowed, disqualified, withdrawn, or
                superseded prior to the Voting Record Date;

             b. holders of Claims arising from the rejection of an Executory Contract or Unexpired
                Lease, which rejection is filed by the Voting Record Date;

             c. holders of Claims that are listed in the Schedules and Statements; provided that
                Claims that are scheduled as wholly contingent, unliquidated or disputed
                (excluding such scheduled contingent, unliquidated, or disputed Claims that have
                been superseded by a timely Filed Proof of Claim) shall be disallowed for voting
                purposes; and

             d. holders of Disputed Claims that have been temporarily allowed to vote on the
                Creditors’ Plan pursuant to Bankruptcy Rule 3018.

       15.      In addition, the Creditor Plan Proponents respectfully request that the following

standard assumptions be used in tabulating Ballots (the “Tabulation Procedures” and together with

the Voting Procedures, the “Voting and Tabulation Procedures”):

             a. Except as otherwise provided in the Solicitation Procedures, unless the Ballot being
                furnished is actually received by the Solicitation Agent on or prior to the Voting
                Deadline (as the same may be extended by the Creditor Plan Proponents), the
                Creditor Plan Proponents, shall be entitled to reject such Ballot as invalid and not
                count it in connection with Confirmation of the Creditors’ Plan.

             b. The Creditor Plan Proponents will prepare and file with the Court a voting report
                (the “Voting Report”) by February 23, 2024 (the “Voting Report Deadline”) that
                shall, among other things, delineate every Ballot that does not conform to the voting
                instructions or that contains any form of irregularity including, but not limited to,
                those Ballots that are late or (in whole or in material part), illegible, unidentifiable,
                lacking signatures, lacking necessary information, received via facsimile or
                electronic mail other than email, or damaged (collectively, in each case, the
                “Irregular Ballots”). The Voting Report shall indicate the Creditor Plan Proponents’
                intentions with regard to each Irregular Ballot. The Creditor Plan Proponents,
                unless subject to a contrary order of the Court, may waive any defects or


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                irregularities as to any particular Irregular Ballot at any time, and any such waivers
                will be documented in the Voting Report.

             c. The method of delivery of Ballots to be sent to the Solicitation Agent is at the
                election and risk of each party. Except as otherwise provided, a Ballot will be
                deemed delivered only when the Solicitation Agent actually receives the properly
                executed Ballot.

             d. If multiple Ballots are received from the same holder with respect to the same Claim
                prior to the Voting Deadline, the last properly executed Ballot received will be
                counted and all prior received Ballots will be disregarded.

             e. Holders must vote all of their Claims within a particular Class either to accept or
                reject the Creditors’ Plan and may not split any votes.

       16.      The Voting and Tabulation Procedures comply with the applicable provisions of the

Bankruptcy Code and Bankruptcy Rules and should be approved.

       B.       Contents and Distribution of the Solicitation Package

       17.      Pursuant to Bankruptcy Rule 3017(d), upon approval of a disclosure statement, a

plan proponent shall transmit “(1) the plan or a court-approved summary of the plan; (2) the

disclosure statement approved by the court; (3) notice of the time within which acceptances and

rejections of the plan may be filed; and (4) any other information as the court may direct, including

any court opinion approving the disclosure statement or a court-approved summary of the

opinion.” Fed. R. Bankr. P. 3017(d). The plan proponent must provide notice of the time fixed for

filing objections and the hearing on confirmation shall be mailed to creditors and equity security

holders in accordance with Bankruptcy Rule 2002(b), and a form of Ballot conforming to the

Official Form No. 314 shall be mailed to creditors entitled to vote on the chapter 11 plan.

       18.      Subject to the Court’s approval of the relief requested in this Motion, the Creditor

Plan Proponents will cause following to be distributed to holders of Claims entitled to vote on the

Creditors’ Plan (the “Solicitation Package”):

                a.      a copy of the Creditors’ Plan and Specific Disclosure Statement, as
                        approved by the Court on a conditional basis (with all exhibits thereto);

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               b.      the Disclosure Statement Order;

               c.      the Ballot;

               d.      the Confirmation Scheduling Order; and

               e.      any supplemental documents that the Creditor Plan Proponents may file
                       with the Court or that the Court orders to be made available.

       19.     The distribution of the Solicitation Packages will provide all holders of Claims

entitled to vote on the Creditors’ Plan with the requisite materials and sufficient time to make an

informed decision with respect to the Creditors’ Plan. See Fed. R. Bankr. P. 3017(d).

III.   The Court Should Approve the Forms of the Ballots

       20.     The Creditor Plan Proponents propose to solicit votes only from holders of General

Unsecured Claims because only holders of General Unsecured Claims are entitled to vote under

the Creditors’ Plan. In accordance with Bankruptcy Rule 3018(c), the Solicitation Agent will

distribute Ballots substantially in the form attached as Exhibit B. The form of the Ballot is based

on the Official Form, which has been modified to: (i) address the particular circumstances of this

Chapter 11 Case; and (ii) include certain additional information that the Creditor Plan Proponents

believe to be relevant and appropriate. See Fed. R. Bankr. P. 3017(d).

IV.    The Court Should Approve the Setting of Certain Dates and Deadlines in
       Connection with the Solicitation of the Creditors’ Plan

       A.      The Voting Record Date

       21.     Pursuant to Bankruptcy Rule 3017(d), upon approval of a disclosure statement, a

plan proponent shall mail to all creditors and equity security holders and the United States Trustee

a copy of the plan, the disclosure statement, notice of the voting deadline and such other

information as the court may direct. See Fed. R. Bankr. P. 3017(d). Creditors and equity security

holders “shall include holders of stock, bonds, debentures, notes, and other securities of record on



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the date the order approving the disclosure statement is entered or another date fixed by the court,

for cause, after notice and a hearing.” Id.

        22.    The Creditor Plan Proponents respectfully request that the Court establish the

voting record date as January 24, 2024 (the “Voting Record Date”) for determining which holders

of Claims are entitled to vote on the Creditors’ Plan and whether Claims have been properly

transferred to an assignee pursuant to Bankruptcy Rule 3001(e) such that the assignee can vote as

the holder of the Claim. In the event of a transferred Claim, the transferee of such Claim shall be

bound by any vote on the Creditors’ Plan made by the holder of such Claim as of the Voting Record

Date.

        B.     The Voting Deadline

        23.    Pursuant to Bankruptcy Rule 3017(c), on or before approval of the disclosure

statement, “the court shall fix a time within which the holders of claims and interests may accept

or reject the plan[.]” Fed. R. Bankr. P. 3017(c). The Creditor Plan Proponents respectfully request

that the Court establish February 12, 2024 (prevailing Central Time) as the deadline to submit

the Ballots (the “Voting Deadline”). For votes to be counted, the Creditor Plan Proponents propose

that all Ballots must be properly executed, completed and delivered so that they are received by

the Solicitation Agent no later than the Voting Deadline.

                              EMERGENCY CONSIDERATION

        24.    Pursuant to Bankruptcy Local Rule 9013-1(i), the Creditor Plan Proponents

respectfully request emergency consideration of this Motion. Emergency relief is necessary to

allow the Creditor Plan Proponents to comply with the dates and deadlines set forth in the

Confirmation Scheduling Order. Moreover, the Specific Disclosure Statement was filed on

January 5, 2024 and provides additional notice of the contemplated timeline. The Creditor Plan



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Proponents therefore believe emergency relief is warranted and will not prejudice parties in

interest.

                                              NOTICE

        25.    The Creditor Plan Proponents will provide notice of this Motion to: (a) the Office

of the United States Trustee for the Southern District of Texas; (b) counsel for the Debtor; and (c)

any party that has requested notice pursuant to Bankruptcy Rule 2002. No further notice is

necessary in light of the nature of the relief requested.




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        WHEREFORE, the Creditor Plan Proponents respectfully request entry of an order,

substantially in the form of the Disclosure Statement Order, attached hereto as Exhibit A, granting

the relief requested herein and granting such other relief as the Court deems just, proper and

equitable.



By:_/s/ Marty L. Brimmage, Jr.________________ By:_/s/ Ryan E. Chapple_____________________
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Co-Counsel to the Texas Plaintiffs

Dated: January 12, 2024
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                                CERTIFICATE OF SERVICE

        I certify that on January 12, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                            /s/ Marty L. Brimmage, Jr.
                                                               Marty L. Brimmage, Jr.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                              )
In re:                                                        )       Chapter 11
                                                              )
ALEXANDER E. JONES,                                           )       Case No. 22-33553 (CML)
                                                              )
                                     Debtor.                  )
                                                              )

 ORDER (I) APPROVING THE DISCLOSURE STATEMENT ON A CONDITIONAL
 BASIS; (II) APPROVING THE SOLICITATION PROCEDURES; (III) APPROVING
    THE FORM OF BALLOT; AND (IV) APPROVING CERTAIN DATES AND
DEADLINES IN CONNECTION WITH SOLICITATION OF THE CREDITORS’ PLAN

           Upon the motion (the “Motion”)1 of the Creditor Plan Proponents for entry of an order (this

“Disclosure Statement Order”): (i) approving the Specific Disclosure Statement on a conditional

basis; (ii) approving the Solicitation Procedures with respect to the Creditors’ Plan; (iii) approving

the form of Ballot; and (iv) establishing certain dates and deadlines in connection with solicitation

of the Creditors’ Plan; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §

1334; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

and this Court having found it may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtor’s estate, the Debtor’s

creditors, and other interested parties; and this Court having found that the Creditor Plan

Proponents’ notice of the Motion and opportunity for a hearing on the motion were appropriate




1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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under the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing, if

any, before this Court (the “Hearing”); and this Court having determined that the legal and factual

bases set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Specific Disclosure Statement is approved as containing adequate information

in accordance with Bankruptcy Code section 1125 on a conditional basis and is subject to final

approval of the Court at the Confirmation Hearing.

       2.      The Solicitation Procedures described in the Motion are approved in their entirety.

       3.      Pursuant to Bankruptcy Rule 3018(a), January 24, 2024 is established as the Voting

Record Date for determining which holders of Claims are entitled to vote on the Creditors’ Plan

and whether Claims have been properly transferred to an assignee pursuant to Bankruptcy Rule

3001(e) such that the assignee can vote as the Holder of the Claim.

       4.      Pursuant to Bankruptcy Rule 3017(c), February 12, 2024 at 4 p.m. (prevailing

Central Time) is established as the Voting Deadline. All Ballots must be properly executed,

completed and delivered as described in the Solicitation Procedures so that they are received no

later than the Voting Deadline.

       5.      The procedures for distributing the Solicitation Package as set forth in the Motion

and the Solicitation Procedures satisfy the requirements of the Bankruptcy Code and the

Bankruptcy Rules.

       6.      The Creditor Plan Proponents are authorized to: (a) distribute the Solicitation

Packages and solicit votes on the Creditors’ Plan in compliance with the Solicitation Procedures;



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(b) receive, tabulate and report on Ballots; and (c) respond to inquiries relating to the solicitation

and voting process, including all matters related thereto. The Creditor Plan Proponents may

contact parties that submit incomplete or otherwise deficient Ballots to make a reasonable effort

to cure such deficiencies; provided, however, that the Creditor Plan Proponents are not obligated

to do so.

       7.      The Solicitation Agent is authorized, but not directed, to distribute electronic copies

of the Creditors’ Plan, the Specific Disclosure Statement and this Disclosure Statement Order to

holders of Claims entitled to vote on the Plan. The Creditor Plan Proponents shall also provide a

complete Solicitation Packages (other than Ballots) to the United State Trustee for the Southern

District of Texas.

       8.      The Creditor Plan Proponents are authorized to make non-substantive or immaterial

changes to the Creditors’ Plan and the Specific Disclosure Statement, the Solicitation Package,

and related documents without further order of the Court, including changes to correct

typographical and grammatical errors, and to make conforming changes among the Creditors’ Plan

and the Specific Disclosure Statement and related documents where, in the Creditor Plan

Proponents’ reasonable discretion, doing so would better facilitate the solicitation process. Subject

to the foregoing, the Creditor Plan Proponents are authorized to solicit, receive, and tabulate votes

to accept or reject the Creditors’ Plan in accordance with this Disclosure Statement Order without

further order of the Court.

       9.      The Creditors’ Plan, the Specific Disclosure Statement, the Ballot, and the

Solicitation Package provide all parties in interest with sufficient notice regarding the release and

exculpation provisions contained in the Creditors’ Plan in compliance with Bankruptcy Rule

3016(c).



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       10.     The Ballot (including the Voting Instructions), substantially in the form attached as

Exhibit B to the Motion is approved.

       11.     Akin Gump Strauss Hauer & Feld LLP is authorized to act as the Solicitation Agent

in respect of the Creditors’ Plan and accept Ballots via mail or email. Ballots or Opt-Out Forms

submitted by facsimile or other electronic means other than by email, will not be counted.

       12.     The Creditor Plan Proponents shall not be required to solicit votes from creditors

that are not entitled to vote on the Creditors’ Plan.

       13.     Nothing in this Disclosure Statement Order shall be construed as a waiver of the

right of the Creditor Plan Proponents to object to a Proof of Claim after the Voting Record Date.

       14.     All time periods in this Disclosure Statement Order shall be calculated in

accordance with Bankruptcy Rule 9006.

       15.     Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a), and

the Bankruptcy Local Rules are satisfied by such notice.

       16.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Disclosure Statement Order are immediately effective and enforceable upon entry.

       17.     The Creditor Plan Proponents are authorized to take all actions necessary to

effectuate the relief granted in this Disclosure Statement Order in accordance with the Motion.

       18.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation and enforcement of this Disclosure Statement Order.



Date: _________________________, 2024



                                       _______________________________________________
                                       UNITED STATES BANKRUPTCY JUDGE
                                       CHRISTOPHER M. LOPEZ

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                            Exhibit A

                              Ballot
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                            )
In re:                                                      )       Chapter 11
                                                            )
ALEXANDER E. JONES,                                         )       Case No. 22-33553 (CML)
                                                            )
                                   Debtor.                  )
                                                            )

                       BALLOT FOR VOTING TO ACCEPT
                     OR REJECT THE CREDITORS’ PLAN FOR
                  HOLDERS OF CLASS 3 GENERAL UNSECURED
             CLAIMS AND NOTICE OF OBJECTION AND OPT OUT RIGHTS

    PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
    COMPLETING BALLOTS CAREFULLY BEFORE COMPLETING THIS BALLOT.

    IN ORDER FOR YOUR VOTE TO BE COUNTED, THIS BALLOT MUST BE
    COMPLETED, EXECUTED, AND RETURNED SO AS TO BE ACTUALLY RECEIVED
    BY THE SOLICITATION AGENT BY FEBRUARY 12, 2024 AT 4 P.M., CENTRAL
    STANDARD TIME (THE “VOTING DEADLINE”).

The Creditor Plan Proponents are soliciting votes with respect to the Creditors’ Non-Uniform
Individual Chapter 11 Plan of Liquidation for Alexander E. Jones [ECF No. 538] (as may be
amended, modified and supplemented from time to time, the “Creditors’ Plan”). The United States
Bankruptcy Court for the Southern District of Texas (the “Court”) has approved on a conditional
basis the Proposed Specific Disclosure Statement for the Creditors’ Non-Uniform Individual
Chapter 11 Plan of Liquidation for Alexander E. Jones [ECF No. 539] (the “Specific Disclosure
Statement”)1 as containing adequate information pursuant to section 1125 of title 11 of the United
States Code (the “Bankruptcy Code”), by entry of an order on [●], 2024 [ECF No. ●] (the
“Disclosure Statement Order”).

You are receiving this ballot (this “Ballot”) because you are a holder of a General Unsecured Claim
as of January 24, 2024 (the “Voting Record Date”). Accordingly, you have a right to vote to accept
or reject the Creditors’ Plan. You can cast your vote through this Ballot.

Your receipt of this Ballot does not indicate that your Claim(s) has been or will be Allowed. This
Ballot may not be used for any purpose other than for casting votes to accept or reject the Creditors’
Plan and making certain certifications with respect to the Creditors’ Plan. If you believe you have

1
 Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
Creditors’ Plan or the Specific Disclosure Statement, as applicable.
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received this Ballot in error, or if you believe you have received the wrong ballot, please contact
Akin Gump Strauss Hauer & Feld LLP (the “Solicitation Agent”) immediately at the address,
telephone number or email address set forth below.

You should review the Specific Disclosure Statement and the instructions contained herein before
you vote. You may wish to seek legal advice concerning the Creditors’ Plan and the Creditors’
Plan’s classification and treatment of your Claim. Your General Unsecured Claim has been placed
in Class 3 under the Plan.

PLEASE SUBMIT YOUR BALLOT BY ONE OF THE FOLLOWING TWO METHODS:

Via Mail. Complete, sign and date this Ballot and return it (with an original signature)
promptly via first class mail (or in the enclosed reply envelope provided), overnight courier
or hand delivery to counsel to the UCC, which shall serve as Solicitation Agent in accordance
with the terms of the Disclosure Statement Order as follows:

                         Akin Gump Strauss Hauer & Feld LLP,
                        One Bryant Park, Bank of America Tower,
                                  New York, NY, 10036
    Attention: Sara L. Brauner, Katherine Porter, Anna Kordas, and Melanie A. Miller

                                               OR

Via Email. Submit your Ballot via email by sending it to the following email addresses with
a reference to “Jones Ballot Processing” in the subject line: sbrauner@akingump.com;
kporter@akingump.com; akordas@akingump.com; melanie.miller@akingump.com




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              PLEASE READ THE ATTACHED VOTING INFORMATION
             AND INSTRUCTIONS BEFORE COMPLETING THIS BALLOT

 PLEASE COMPLETE ITEMS 1, 2, 3 AND 4. IF THIS BALLOT HAS NOT BEEN
 PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT BE VALID
 OR COUNTED AS HAVING BEEN CAST.

Item 1.        Amount of Claims.

The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the
holder (or authorized signatory of such a holder) of a General Unsecured Claim in the amount set
forth below.

                      Amount: $




Item 2.        Vote on the Creditors’ Plan.

Please vote either to accept or to reject the Creditors’ Plan with respect to your Claims below. Any
Ballot not marked either to accept or reject the Creditors’ Plan, or marked both to accept and reject
the Plan, shall not be counted in determining acceptance or rejection of the Creditors’ Plan.

The undersigned holder of the Class 3 General Unsecured Claim set forth in Item 1 votes to (please
check only one):

  ☐ ACCEPT (vote FOR) the Creditors’ Plan            ☐ REJECT (vote AGAINST) the Creditors’
                                                     Plan


Item 3.        Important information regarding the release provisions in the Creditors’ Plan.

A. Releases by the Debtor

        Notwithstanding anything contained in the Creditors’ Plan to the contrary, pursuant
to section 1123(b) of the Bankruptcy Code, in exchange for good and valuable consideration,
the adequacy of which is hereby confirmed, each Released Party is deemed to be, hereby
conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged
by the Releasing Parties, as applicable, from any and all claims and Causes of Action asserted
by or assertable on behalf of the Releasing Parties, whether known or unknown, foreseen or
unforeseen, matured or unmatured, existing or hereafter arising, contingent or non-
contingent, in law, equity, contract, tort or otherwise. Notwithstanding anything to the
contrary in the foregoing, the releases set forth above do not release any post-Effective Date
obligations of any party or Entity under the Creditors’ Plan, the Confirmation Order, or any

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document, instrument, or agreement executed to implement the Creditors’ Plan or any
Claim or obligation arising under the Plan. For the avoidance of doubt, Jones shall not be a
Released Party and there shall be no release or exculpation of the Trust Causes of Action,
the Non-Dischargeable Claims, or any other Claims or Causes of Action against Jones, non-
minor members of his immediate family, or their Insiders or Affiliates, as applicable, subject
to the ability of Insiders and Affiliates of Jones to become a Released Party by making a
Release Settlement Payment.

   B. Exculpation

        Except as otherwise specifically provided in the Creditors’ Plan, no Exculpated Party
shall have or incur liability for, and each Exculpated Party is hereby released and exculpated
from, any Cause of Action or Claim whether direct or derivate related to any act or omission
in connection with, relating to, or arising out of the Chapter 11 Case from the Petition Date
to the Effective Date, the formulation, preparation, dissemination, negotiation, or Filing of
the Creditors’ Plan, this Specific Disclosure Statement, the Plan Supplement, or any
contract, instrument, release, or other agreement or document created or entered into before
or during the Chapter 11 Case in connection with the Creditors’ Plan, any preference,
fraudulent transfer, or other avoidance Claim arising pursuant to chapter 5 of the
Bankruptcy Code or other applicable law, the Filing of the Chapter 11 Case, the pursuit of
Confirmation, the pursuit of consummation of the Creditors’ Plan, the administration and
implementation of the Creditors’ Plan, including the issuance of GUC Trust Interests
pursuant to the Creditors’ Plan, or the distribution of property under the Creditors’ Plan or
any other related agreement, or upon any other act or omission, transaction, agreement,
event, or other occurrence taking place on or before the Effective Date related or relating to
any of the foregoing, except for Claims related to any act or omission that is determined in a
Final Order to have constituted willful misconduct, gross negligence, or actual fraud, but in
all respects such Exculpated Parties shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to the Creditors’ Plan and
the Confirmation Order.

    The Exculpated Parties set forth above have, and upon Confirmation of the Creditors’
Plan, shall be deemed to have, participated in good faith and in compliance with applicable
law with respect to the solicitation of votes and distribution of consideration pursuant to the
Creditors’ Plan and, therefore, are not and shall not be liable at any time for the violation of
any applicable law, rule, or regulation governing the solicitation of acceptances or rejections
of the Creditors’ Plan or such distributions made pursuant to the Creditors’ Plan.

Relevant Definitions Related to Release and Exculpation Provisions:

“Exculpated Parties” means, collectively, and in each case, solely in its capacity as such: (a) the
Sandy Hook Families; (b) the immediate family members of the Sandy Hook Families; (c) the
UCC; and (d) with respect to each of the foregoing (a)-(c), such Entities’ respective employees,
agents, financial advisors, and attorneys, including (i) counsel to the Sandy Hook Families, (ii)
counsel to the UCC, and (iii) advisors to the UCC, including accountants, representatives, and
other Professionals, each in their capacity as such.

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“Released Parties” means, collectively, and in each case, solely in its capacity as such: (a) the
Sandy Hook Families; (b) the immediate family members of the Sandy Hook Families; (c) the
UCC; (d) with respect to each of the foregoing (a)-(c), such Entities’ respective current and former
Affiliates, and such Entities’ and their current and former Affiliates’ current and former successors,
assigns, employees, agents, financial advisors, and attorneys, including (i) counsel to the Sandy
Hook Families, (ii) counsel to the UCC, and (iii) advisors to the UCC, including accountants,
representatives, and other Professionals, each strictly in their capacity as such; (e) members of
Jones’s family that are legally minors as of the Effective Date; and (f) any Insider or Affiliate of
Jones that has made, or has caused to be made, a Release Settlement Payment.

“Releasing Parties” means (a) Jones and his Estate; (b) the UCC; (c) the Sandy Hook Families;
(d) any Insider or Affiliate of Jones that has made, or has caused to be made, a Release Settlement
Payment; and (e) all holders of Claims, Interests, or Cause of Actions that (i) vote to accept the
Plan or (ii) are Unimpaired and do not timely file an objection to the releases contained in Article
X of the Plan that is not resolved before Confirmation.




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Item 4.         Certifications.

By signing this Ballot, the undersigned certifies to the Bankruptcy Court and the Creditor Plan
Proponents that:
          (a)   as of the Voting Record Date, either: (i) the Entity is the holder of the General
                Unsecured Claims being voted; or (ii) the Entity is an authorized signatory for an
                Entity that is a holder of the General Unsecured Claims being voted;
          (b)   the Entity (or in the case of an authorized signatory, the holder) has received the
                Solicitation Package and acknowledges that the solicitation is being made pursuant
                to the terms and conditions set forth therein;
          (c)   the Entity has cast the same vote with respect to all of its General Unsecured
                Claims; and
          (d)   no other Ballots with respect to the amount of the General Unsecured Claims
                identified in Item 1 have been cast or, if any other Ballots have been cast with
                respect to such General Unsecured Claims, then any such earlier Ballots are hereby
                revoked.

 Name of Holder:
                                                      (Print or Type)


 Signature:


 Name of Signatory:

 Title:
 Address:




 Telephone
 Number:
 Email:
 Date Completed:



IF THE SOLICITATION AGENT DOES NOT ACTUALLY RECEIVE THIS BALLOT ON
OR BEFORE FEBRUARY 12, 2024 AT 4 P.M. PREVAILING CENTRAL TIME, AND IF
THE VOTING DEADLINE IS NOT EXTENDED, THE VOTES OR ELECTIONS
TRANSMITTED HEREBY MAY BE COUNTED ONLY IN THE DISCRETION OF THE
CREDITOR PLAN PROPONENTS.


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